                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                              CASE NO: 3:15-cv-176




Antonio Stukes,
                                     Plaintiff,
v.


Debra Antney, individually and as
Owner/Member/Manager/CEO of Mizay
Entertainment Inc.; Mizay Music Group LLC;
Be100 America, LLC; Be100 Radio LLC;
Daganda Entertainment LLC; Mizay Publishing
LLC; and Mizay Management LLC,
Mizay Entertainment Inc.,
                                                      MOTION TO COMPEL DISCOVERY IN
Mizay Music Group LLC,                                      AID OF EXECUTION

Be100 America, LLC,

Be100 Radio LLC,

Daganda Entertainment LLC,

Mizay Publishing LLC,

and

Mizay Management LLC,

                                   Defendants.


       NOW COMES Plaintiff, by and through undersigned counsel, and pursuant to Fed. R. Civ.

P. 37 respectfully moves the Court for an Order compelling discovery and appropriate financial

sanctions, at the discretion of the Court. In support of such Motion, the Plaintiff respectfully

shows unto the Court as follows:


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       1.      Pursuant to Fed. R. Civ. P. 33 and 69, Plaintiff served Defendant Debra Antney

with Plaintiff’s First Interrogatories and Request for Production of Documents In Aid of Execution

on October 22, 2015.

       2.      On November 30, 2015, Plaintiff granted Defendant Antney a thirty day extension

of time in order to respond to discovery.

       3.      When discovery responses were not received after thirty days, Plaintiff made

multiple requests for updates and requests to confer, including, but not limited to, on December

29, 2015, January 7, 2016, and April 4, 2016.

       4.      As of the date of this filing, Defendant Antney has not responded to Plaintiff’s First

Interrogatories and Request for Production of Documents in Aid of Execution. Further, no updates

regarding the discovery responses have been received since January 12, 2016.

       5.      Plaintiff is requesting that the Court enter an order compelling Defendant Antney to

respond to Plaintiff’s First Interrogatories and Request for Production of Documents within ten

days, and further instructing Defendant Antney to produce new and useful information with said

responses. Additionally, Plaintiff requests that the court levy appropriate financial sanctions,

including attorney fees and costs, such that the court finds proper, to be paid within ten days.

       6.      In support of this request, Plaintiff relies upon the record in this case, the

accompanying Memorandum in Support, and the exhibits attached to the Memorandum.

       WHEREFORE, the Plaintiff respectfully prays the Court to enter an Order as following:

       1.      That Defendant Antney is compelled to respond to Plaintiff’s First Set of

Interrogatories and Request for Production of Documents within ten (10) days;

       2.      That Defendant Antney is compelled to produce new and useful information in the

responses to Plaintiff’s First Set of Interrogatories and Request for Production of Documents;



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       3.      That Defendant Antney’s objections to discovery are waived for failure to respond

in a timely fashion, pursuant to Fed. R. Civ. P 33(b)(4);

       4.      For sanctions, including costs and attorneys’ fees, in an amount deemed appropriate

by the Court, due within ten (10) days.



       THIS THE 12TH DAY OF MAY, 2016.



                                    SEIFERFLATOW, PLLC

                                                      By: S/ MATHEW E. FLATOW
                                                      MATHEW E. FLATOW
                                                      NC State Bar No. 35282

                                                      By: S/ ADAM M. SEIFER
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                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing PLAINTIFF’S MOTION TO COMPEL

DISCOVERY IN AID OF EXECUTION was electronically filed on 12 May 2016 with the

Clerk of the Court using the CM/ECF system which will send notification of such filing to counsel

for Defendants.


THIS THE 12TH DAY OF MAY, 2016.


                                  SEIFERFLATOW, PLLC

                                                   By:    S/ MATHEW E. FLATOW




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